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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF VERMONT

ALBIN MELI, et al.                           )
                                             )
               Plaintiffs,                   )
                                             )
v.                                           )       Civil Action No. 2:19–CV–71
                                             )
CITY OF BURLINGTON, VERMONT,                 )
et al.,                                      )
                                             )
               Defendants.                   )

                                    NOTICE OF APPEAL

       Notice is hereby given Defendant Jason Bellavance, Defendant City of Burlington,

Vermont, and Defendant Brandon del Pozo hereby appeal to the United States Court of Appeals

for the Second Circuit from this Court’s Opinion & Order (Dkt. No. 158) denying, in part,

Defendants’ Motion for Summary Judgment on Plaintiff Jeremie Meli’s Claims on the basis of

qualified immunity, entered in this action on the 14th day of February 2022.

       DATED at Burlington, Vermont, this 1st day of March 2022.

                                                     JASON BELLAVANCE, CITY OF
                                                     BURLINGTON, AND BRANDON DEL
                                                     POZO

                                             By:     /s/ Pietro J. Lynn
                                                     Pietro J. Lynn, Esq.
                                                     Barbara R. Blackman, Esq.
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